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                                                                                              FILED 
                                                                                              CLERK 
 UNITED STATES DISTRICT COURT
                                                                                                  
 EASTERN DISTRICT OF NEW YORK                                                     4:44 pm, May 10, 2018
                                                                                                  
 ---------------------------------------------------X                                 U.S. DISTRICT COURT 
 JOVANY HENRIUS, et al.                                                          EASTERN DISTRICT OF NEW YORK 
                                                                                      LONG ISLAND OFFICE 
                           Plaintiffs,
                                                            ORDER
         -against-                                          13-CV-1192 (SJF)(SIL)

 “JOHN DOE,” Superintendent of Nassau
 County Jails, et al.,

                            Defendants.
 ---------------------------------------------------X
 FEUERSTEIN, District Judge:

         Pending before the Court is the Order, Report and Recommendation of the Honorable

 Steven I. Locke, United States Magistrate Judge, dated February 15, 2018 (“the Report”), inter

 alia, (1) recommending that defendants’ motion pursuant to Rule 12(c) of the Federal Rules of

 Civil Procedure for judgment on the pleadings as to consolidated plaintiff Sharod Williams

 (“Williams”), and the motion of defendants County of Nassau (the “County”) and Michael J.

 Sposato (“Sposato’) to dismiss the claims of consolidated plaintiff Charles McClendon

 (“McClendon”) pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, be granted

 without prejudice and with leave to re-plead to the extent set forth therein1; and (2) advising,

 inter alia, (a) that “[a]ny objections to th[e] Report . . . must be filed with the Clerk of the Court

 within fourteen (14) days of receipt of th[e] report[,]” (Report at 24), and (b) that a “[f]ailure to

 file objections within the specified time waives the right to appeal the District Court’s order.”



         1
          Since, by order dated May 9, 2018, the claims of consolidated plaintiff David C.
 Knudson (“Knudson”) were dismissed in their entirety with prejudice pursuant to Rule 41(b) of
 the Federal Rules of Civil Procedure for failure to prosecute, so much of the Report as
 recommends that the County’s and Sposato’s motion for judgment on the pleadings as to
 Knudson be granted in part and denied in part is moot.

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 (Id.) (citing 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a); Ferrer v. Woliver, No. 05-3696, 2008

 WL 4951035, at * 2 (2d Cir. Nov. 20, 2008); Beverly v. Walker, 118 F.3d 900, 902 (2d Cir.

 1997); and Savoie v. Merchants Bank, 84 F.3d 52, 60 (2d Cir. 1996)). Pursuant to the Report,

 defendants served the Report upon Williams, Knudson and McClendon by mailing copies thereof

 to each of them at their address of record on February 16, 2018. (See Docket Entry [“DE”] 491).

 After the mailing to McClendon was returned to defendants as undeliverable, and McClendon

 subsequently filed a notice of change of address on March 12, 2018, (see DE 502), defendants

 again served, inter alia, the Report upon McClendon by mailing a copy thereof to him at his new

 address of record on March 23, 2018. (See DE 503).

         No party has filed any timely objections to the Report, nor sought an extension of time to

 do so. Indeed, by letter dated February 20, 2018, counsel for defendants indicated, inter alia, that

 “defendants do not intend to file objections” to the Report. (DE 493). For the reasons set forth

 below, so much of Magistrate Judge Locke’s Report as recommends that defendants’ motion for

 judgment on the pleadings as to Williams, and the County’s and Sposato’s motion to dismiss the

 claims of McClendon, be granted without prejudice and with leave to re-plead to the extent set

 forth therein is accepted in its entirety.



 I.      DISCUSSION

         A.      Standard of Review

         Any party may serve and file written objections to a report and recommendation of a

 magistrate judge on a dispositive matter within fourteen (14) days after being served with a copy

 thereof. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(2). Any portion of such a report and

 recommendation to which a timely objection has been made is reviewed de novo. 28 U.S.C. §



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 636(b)(1); Fed. R. Civ. P. 72(b)(3). The court, however, is not required to review the factual

 findings or legal conclusions of the magistrate judge as to which no proper objections are

 interposed. See Thomas v. Arn, 474 U.S. 140, 150, 106 S. Ct. 466, 88 L. Ed. 2d 435 (1985).

 Where a party “received clear notice of the consequences of the failure to object” to a report and

 recommendation on a dispositive matter, Frank v. Johnson, 968 F.2d 298, 300 (2d Cir. 1992)

 (quotations and citation omitted); accord Small v. Secretary of Health and Human Svcs., 892

 F.2d 15, 16 (2d Cir. 1989), his “failure to object timely to [that] report waives any further judicial

 review of the report.” Frank, 968 F.2d at 16; see also Smith v. Campbell, 782 F.3d 93, 102 (2d

 Cir. 2015); Caidor v. Onondago County, 517 F.3d 601, 604 (2d Cir. 2008).

           Nonetheless, the waiver rule is “nonjurisdictional” and, thus, the Court may excuse a

 violation thereof “in the interests of justice.” King v. City of New York, Dep’t of Corr., 419 F.

 App’x 25, 27 (2d Cir. Apr. 4, 2011) (summary order) (quoting Roldan v. Racette, 984 F.2d 85, 89

 (2d Cir. 1993)); see also DeLeon v. Strack, 234 F.3d 84, 86 (2d Cir. 2000). “Such discretion is

 exercised based on, among other factors, whether the defaulted argument has substantial merit or,

 put otherwise, whether the magistrate judge committed plain error in ruling against the defaulting

 party.” Spence v. Superintendent, Great Meadow Corr. Facility, 219 F.3d 162, 174 (2d Cir.

 2000); accord Maitland v. Fishbein, 712 F. App’x 90, 92 (2d Cir. Feb. 26, 2018) (summary

 order).



           B.     Review of Report

           Since no party has filed any timely objections to Magistrate Judge Locke’s Report, nor

 sought an extension of time to do so, they have “waive[d] any further judicial review of the

 findings contained in the [R]eport.” Spence, 219 F.3d at 174. Moreover, as the Report is not



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 plainly erroneous, the Court will not exercise its discretion to excuse the parties’ default in filing

 timely objections to the Report in the interests of justice. Accordingly, the Report is accepted in

 its entirety and, for the reasons set forth therein, defendants’ motion for judgment on the

 pleadings as to Williams, and the County’s and Sposato’s motion to dismiss the claims of

 McClendon, are granted and Williams’s and McClendon’s claims in their original complaints are

 dismissed in their entirety without prejudice and with leave to re-plead in accordance with the

 Report.

           Although Williams filed an amended complaint on April 6, 2018, and again on May 3,

 2018, McClendon has not filed an amended complaint to date. McClendon must file an amended

 complaint in accordance with the Report by no later than June 11, 2018, or he will be deemed

 to have waived his right to file an amended complaint and his claims in this consolidated action

 will be dismissed in their entirety with prejudice.



 II.       CONCLUSION

           For the reasons set forth herein, so much of Magistrate Judge Locke’s Report as

 recommends that defendants’ motion for judgment on the pleadings as to Williams, and the

 County’s and Sposato’s motion to dismiss the claims of McClendon, be granted without

 prejudice and with leave to re-plead to the extent set forth therein is accepted in its entirety and,

 for the reasons set forth therein, defendants’ motion for judgment on the pleadings as to

 Williams, and the County’s and Sposato’s motion to dismiss the claims of McClendon, are

 granted and Williams’s and McClendon’s claims in their original complaints are dismissed in

 their entirety without prejudice and with leave to re-plead in accordance with the Report.

 McClendon must file an amended complaint in accordance with the Report by no later than



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 June 11, 2018, or he will be deemed to have waived his right to file an amended complaint and

 his claims in this consolidated action will be dismissed in their entirety with prejudice.

 Accordingly, the pretrial conference scheduled to be held before the undersigned on May 14,

 2018 is adjourned to July 19, 2018 at 11:15 a.m. in Courtroom 1010 at the Central Islip

 Courthouse, located at 100 Federal Plaza, Central Islip, New York 11722.

        Pursuant to Rule 77(d)(1) of the Federal Rules of Civil Procedure, the Clerk of the Court

 is directed to serve notice of entry of this order upon all remaining parties to the consolidated

 action, including Williams and McClendon, in accordance with Rule 5(b) of the Federal Rules of

 Civil Procedure.

        The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from this Order

 would not be taken in good faith and therefore in forma pauperis status is denied for the purpose

 of any appeal. See Coppedge v. United States, 369 U.S. 438, 444-45, 82 S. Ct. 917, 8 L. Ed. 2d

 21 (1962).




 SO ORDERED.

                                                             /s/
                                               SANDRA J. FEUERSTEIN
                                               United States District Judge
 Dated: May 10, 2018
        Central Islip, New York




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